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                                UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

  DECURTIS LLC,                                        )
                                                       )
  a Delaware limited liability corporation,
                                                       )
                                                       )
                Plaintiff,                             )
                                                       ) No. ______________
                                                       )
  v.                                                   ) JURY TRIAL DEMANDED
                                                       )
                                                       )
  CARNIVAL CORPORATION,                                )
                                                       )
  a Panamanian corporation,
                                                       )
                                                       )
               Defendant.                              )



                         COMPLAINT FOR DAMAGES AND
                INJUNCTIVE RELIEF AND REQUEST FOR JURY TRIAL

         DeCurtis LLC files this complaint for damages and injunctive relief against Carnival

  Corporation and states as follows:

         1.      This is an action for declaratory judgments of unenforceability and non-

  infringement under the patent laws of the United States, for violation of Section 2 of the

  Sherman Act, tortious interference with contract, and unfair competition.

         2.      DeCurtis LLC seeks declaratory judgments of unenforceability and non-

  infringement because Carnival Corporation (“Carnival”) has raised a real and immediate dispute

  concerning Carnival U.S. Patent Nos. 10,037,642 (“the ’642 Patent”); 10,045,184 (“the ’184

  Patent”); 10,049,516 (“the ’516 Patent”); 10,157,514 (“the ’514 Patent”); 10,171,978 (“the ’978

  Patent”); 10,304,271 (“the ’271 Patent”); and 10,499,228 (“the ’228 Patent”). Specifically,

  DeCurtis LLC seeks a declaration of unenforceability as to all seven of these Carnival Patents,
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  which Carnival has used to threaten DeCurtis LLC and its customers. DeCurtis LLC further

  seeks a declaration of non-infringement as to whether the DeCurtis Experience Platform and

  associated technology that DeCurtis LLC has implemented for its customers Virgin Cruise

  Intermediate Limited, Inc. (“Virgin”) and Norwegian Cruise Line (“NCL”) (the “DXP System”)

  infringes or causes infringement of one or more claims of the ’184 Patent, the ’514 Patent, the

  ’271 Patent, the ’642 Patent, and the ’228 Patent.

         3.      Additionally, Carnival has monopolized and restrained trade in the market for

  guest engagement systems that provide seamless engagement with cruise ship facilities through

  the use of wireless sensing technologies. Carnival is also attempting to monopolize the market

  for cruise travel with such systems. As detailed below, Carnival effected this unlawful

  monopolization by, among other things: (a) fraudulently obtaining patents from the U.S. Patent

  and Trademark Office (“USPTO”); (b) threatening objectively baseless litigation based on

  patents known to be unenforceable with the intent to adversely affect DeCurtis LLC’s business;

  and (c) threatening and interfering with DeCurtis LLC’s customers and potential customers. This

  conduct threatens to cause significant and irreparable damage to DeCurtis LLC.

                                             The Parties

         4.      Plaintiff DeCurtis LLC is a Delaware limited liability corporation headquartered

  in Orlando, Florida. DeCurtis LLC designs, develops, engineers, manufactures, markets, and

  sells systems and methods for providing guests a seamless engagement with cruise ship facilities

  through the use of wireless sensing technologies.

         5.      Defendant Carnival Corporation (“Carnival”) is a Panamanian corporation with

  its principal place of business in Miami, Florida. Among other businesses, Carnival operates




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  cruise lines for use by the public. Carnival is listed as the assignee of the ’642, ’184, ’516, ’514,

  ’978, ’271, and ’228 patents

          6.          Carnival has indicated its intent to sell to other cruise lines systems and methods

  for providing guests a seamless engagement with cruise ship facilities through the use of wireless

  sensing technologies. In other words, Carnival intends to compete with DeCurtis LLC.

                                           Jurisdiction And Venue

          7.          This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a),

  2201(a), and 1337(a). This action arises under the antitrust laws of the United States, specifically

  Sections 4 and 16 of the Clayton Act (15 U.S.C. §§ 15, 26) for violations of Section 2 of the

  Sherman Act (15 U.S.C. § 2). This action also arises under the Declaratory Judgment Act,

  28 U.S.C. § 2201, and under the patent laws of the United States, 35 U.S.C. §§ 100, et seq. This

  Court has jurisdiction over DeCurtis LLC’s state-law claims against Carnival under 28 U.S.C. §

  1367(a).

          8.          Venue is proper under 15 U.S.C. §§ 15 and 22, and 28 U.S.C. § 1391(b)(1) and

  (2), (c)(2), and (d), and 1400(b). The injury to DeCurtis LLC arising from Carnival’s unlawful

  monopolization substantially occurred in this district. Moreover, Carnival accuses DeCurtis of

  committing acts of infringement in this district. Further, Carnival maintains a sales manager and

  other personnel and facilities in this district. Carnival cruise ships also depart from ports in this

  district, including Port Canaveral, Jacksonville, and Tampa.

          9.          This Court has personal jurisdiction over Carnival pursuant to 15 U.S.C. § 22

  because Carnival transacts business and maintains substantial contacts in this district. Further,

  Carnival’s conduct had the intended effect of causing injury to DeCurtis LLC, which is located

  in this district.



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         10.       This Court also has personal jurisdiction over Carnival pursuant to 15 U.S.C. § 22

  because Carnival is a foreign company that transacts business in this district and throughout the

  United States.

                                          General Allegations

         11.       Competitors in the cruise industry are eager to identify new ways to enhance the

  on-board experience of their guests. Cruise lines with the ability to provide guests with a “VIP”

  experience through a higher level of service have a competitive advantage.

         12.       One way for a cruise line to provide a “VIP” experience to its guests is through a

  guest engagement system that allows a seamless engagement with the facility through the use of

  wireless sensing technologies. Such a system consists of small, wearable or readily portable

  guest devices that provide near field (“touch”) communications to certain sensors as well as

  broadcast signals to other sensors located throughout the ship. The sensors can be connected to a

  system or systems that manage information regarding the guest, including the guest’s preferences

  for food, drink, entertainment, and experiences.

         13.       These systems allow a guest to board the ship without the need to go through

  check in. Additionally, among many other benefits, when the guest enters restaurants, bars, spas,

  and casinos, the systems recognize the guest and alert cruise personnel to the guest’s stated

  preferences for food, drink, and experiences without requiring the guest to identify those

  preferences. The systems also obviate the need for the guest to carry credit cards or cash.

         14.       David DeCurtis has been a pioneer in developing such guest engagement systems

  for cruise ships and has been involved in their design and engineering since at least 2008. The

  company that he founded—DeCurtis LLC—has designed and engineered innovative guest

  engagement systems.



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         15.     From approximately 2008 to the present, DeCurtis LLC has worked as an

  independent contractor developing guest engagement systems for Disney Cruise Lines.

         16.     DeCurtis LLC’s first project for Disney Cruise Lines was to design a guest

  embarkation system. At the time, Disney Cruise Lines had two new ships—the Disney Dream

  and the Disney Fantasy—that nearly doubled the passenger capacity of other ships in the Disney

  line. Disney had been planning to invest in new port facilities to accommodate the much larger

  passenger volume. However, DeCurtis LLC designed and built a guest embarkation system

  called “Worldwide Quick” that hastened the onboarding process. The success of that system,

  which used near field wireless communication (“NFC”), allowed Disney to forego the expense of

  building new port facilities.

         17.     Next, DeCurtis LLC designed for Disney Cruise Lines a system used to muster

  passengers to lifeboat stations in the event of an emergency. This system, known as the “Mobile

  Assembly Suite” or “MAS,” initially used guest devices that emitted NFC communications along

  with readers placed in locations throughout the ship. Ultimately, DeCurtis LLC improved upon

  the MAS system to include Bluetooth low-energy wireless communications (“BLE”).

         18.     Executives at Disney Cruise Lines concluded that the MAS system was such an

  important safety improvement for the industry at large that it allowed DeCurtis LLC to market

  the system to other cruise lines. As such, the MAS system is currently in use by a number of

  cruise lines, including Carnival.

         19.     While DeCurtis LLC was working on these successful projects for Disney Cruise

  Lines, John Padgett had become the Senior Vice President for Guest Experiences at Disney’s

  theme parks group.




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          20.    Padgett had not been involved with DeCurtis LLC’s work on either the

  Worldwide Quick guest embarkation system or the MAS system.

          21.    Padgett was the head of a secret project at Disney known internally as the “X

  Band” project, later known as the “MagicBand” project, a guest engagement system.

          22.    Padgett wanted to persuade Disney management to authorize a billion dollar

  budget for this project. Accordingly, Padgett planned a presentation to top executives, including

  Disney’s chairman (Bob Iger) and the head of theme parks and cruise lines businesses (Tom

  Staggs). For use in the presentation, Padgett obtained an approximately 50,000 square-foot

  movie studio in the Hollywood Studios theme park to build replicas of various theme park

  attractions.

          23.    Padgett gave DeCurtis three months to put together a presentation of the

  “MagicBand” cruise ship experience for Iger and Staggs. DeCurtis did so and his presentation

  was a great success.

          24.    Padgett obtained his requested budget to develop the “MagicBand” prototype.

          25.    Meanwhile, Disney had previously engaged a major global consulting company to

  design and implement a guest engagement system for “Be Our Guest,” a Disney theme park

  restaurant. After approximately two years without sufficient progress, Padgett lost confidence in

  that company’s work. Padgett asked DeCurtis to start from scratch and design a new system

  within a time frame of only eight months. DeCurtis agreed to do so on the condition that he

  would have control over the project.

          26.    In that short time frame, DeCurtis LLC designed and built a guest engagement

  system for Disney’s “Be Our Guest” restaurant. The system made use of guest devices having

  guest identifiers, wireless communication capability, a network of sensors, a communication



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  network connecting the sensors, a central server, and vending terminals configured to authorize a

  payment based on a guest device using encrypted bi-directional communications to selectively

  authorize payment based on the identity of the guest device. “Be Our Guest” went on to win the

  “Technology of the Year” award from the American Restaurant Association in 2012.

         27.     In or around 2013, Padgett left Disney and became an executive at Carnival

  Corporation.

         28.     At the time, Carnival Cruise Lines was already a client of DeCurtis LLC, which

  was working on a project to rebuild Carnival’s gangway boarding process.

         29.     After his arrival, Padgett tasked DeCurtis LLC with designing the systems and

  methods for a guest engagement system for Carnival that came to be called the

  “OceanMedallion” project, and with building the prototypes to demonstrate how the system

  would work once it was built and implemented.

         30.     DeCurtis LLC designed a successful “proof of concept” presentation for

  Carnival’s executives.

         31.     In the meantime, Padgett had hired Michael Jungen to join him at Carnival as a

  vice president of information technology. Padgett and Jungen had worked closely together at

  Disney. Padgett and Jungen are co-inventors on multiple patents and patent applications.

         32.     At some point in 2015, Carnival decided to reject DeCurtis’s concept for a

  platform to execute the guest management system.

         33.     Jungen decided to replace DeCurtis LLC with another company—TE2—in the

  role of chief development architect of the “OceanMedallion” guest engagement system.

         34.     Thereafter, DeCurtis LLC personnel were excluded from conferences, meetings,

  and emails, and DeCurtis LLC’s proposed projects were rejected.



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         35.     These circumstances made it impossible for DeCurtis LLC to continue working

  on the guest engagement project for Carnival.

         36.     Thereafter, independent of its relationship with Carnival, DeCurtis LLC

  developed other systems and methods for providing seamless engagement with cruise ship

  facilities through the use of wireless sensing technologies without using any Carnival patented

  technology or any confidential information belonging to Carnival.

         37.     DeCurtis LLC’s software solution, as made available for customers Virgin and

  NCL, is known as the “DeCurtis Experience Platform” (the “DXP System”). The DXP System is

  an end-to-end, enterprise grade software solution for cruise lines that enables location and

  proximity-based services to assist in operational efficiency, experience enhancement and

  customer engagement. The DXP System covers, among other things, activity and voyage

  reservations, free-flow embarkation and disembarkation modules, e-mustering, food and

  beverage reservations and ordering, table management, wayfinding, cabin/housekeeping

  notifications, and safety solutions.

         38.     The DXP System makes use of trackable devices that communicate with sensors.

  DeCurtis LLC knew of and made use of these features before working with Carnival on its guest

  engagement platform. In fact, for example, they were part of the guest engagement system that

  DeCurtis LLC created for the Disney “Be Our Guest” restaurant.

         39.     DeCurtis LLC has marketed the DXP System to cruise lines that are competitors

  of Carnival.

         40.     So far, NCL and Virgin have engaged DeCurtis LLC to develop guest

  engagement systems for their respective cruise lines. NCL announced its partnership with

  DeCurtis on May 4, 2018.



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         41.    DeCurtis LLC has designed, built, and installed certain aspects of a guest

  engagement system for Virgin, which were tested by Virgin in February 2020 on a cruise of its

  ship Scarlet Lady across the Atlantic Ocean with passengers consisting of Virgin employees,

  family, and friends. The Scarlet Lady is currently scheduled to launch commercially with the

  DXP System in July 2020.

         42.    Carnival’s reaction to the competitive threat from DeCurtis LLC in this market

  has been to engage in anticompetitive acts that have the effect of preserving or increasing

  Carnival’s monopoly power. These acts include the enforcement of fraudulently-obtained

  patents.

         43.    Beginning in March 2017, Carnival filed applications for a number of patents

  covering systems and methods for providing guests a seamless engagement with cruise ship

  facilities through the use of wireless sensing technologies. The family of patents, which were

  issued in 2018 and 2019, includes:

         (a)    U.S Patent No. 10,037,642 (“the ’642 Patent); the ’642 Patent was filed on July

         20, 2017 and issued on July 31, 2018. It purports to be a divisional of U.S. application

         Ser. No. 15/460,972 filed Mar. 16, 2017, which is a continuation of U.S. application Ser.

         No. 15/459,906 filed Mar. 15, 2017, which in turn claims the benefit of U.S. Provisional

         Applications No. 62/420,998, filed on Nov. 11, 2016, and No. 62/440,938, filed on Dec.

         30, 2016. A copy of the ’642 Patent is attached hereto as Exhibit A.

         (b)    U.S. Patent No. 10,045,184 (“the ’184 Patent”); the ’184 Patent was filed on May

         15, 2017 and issued on August 7, 2018. It purports to claim priority to U.S. Provisional

         Applications No. 62/420,998, filed on Nov. 11, 2016, and No. 62/440,938, filed on Dec.

         30, 2016. A copy of the ’184 Patent is attached hereto as Exhibit B.



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        (c)    U.S. Patent No. 10,049,516 (“the ’516 Patent”); the ’516 Patent was filed on

        March 16, 2017 and issued on August 14, 2018. It purports to be a continuation of U.S.

        application Ser. No. 15/459,906 filed Mar. 15, 2017, which in turn claims the benefit of

        U.S. Provisional Applications No. 62/420,998, filed on November 11, 2016, and No.

        62/440,938, filed on December 30, 2016. A copy of the ’516 Patent is attached hereto as

        Exhibit C.

        (d)    U.S. Patent No. 10,157,514 (“the ’514 Patent”); the ’514 Patent was filed on

        March 16, 2017 and issued on December 18, 2018 as a continuation of the application

        giving rise to the ’184 Patent. The ’514 Patent purports to be a continuation of application

        Ser. No. 15/459,906 filed March 15, 2017, which in turn claims the benefit of U.S.

        Provisional Applications No. 62/420,998, filed on November 11, 2016, and No.

        62/440,938, filed on December 30, 2016. The ’514 Patent issued on December 18, 2018.

        A copy of the ’514 Patent is attached hereto as Exhibit D.

        (e)    U.S. Patent No. 10,171,978 (“the ’978 Patent”); the ’978 Patent was filed on July

        20, 2017 and issued on January 1, 2019. It purports to be a divisional of U.S. application

        Ser. No. 15/460,997 filed March 16, 2017, which is a continuation of U.S. application

        Ser. No. 14/459,906 filed March 15, 2017, which in turn claims the benefit of U.S.

        Provisional Applications No. 62/420,998, filed on November 11, 2016, and No.

        62/440,938, filed on December 30, 2016. A copy of the ’978 Patent is attached hereto as

        Exhibit E.

        (f)    U.S. Patent No. 10,304,271 (“the ’271 Patent”); the ’271 Patent was filed on

        March 16, 2017 and issued on May 28, 2019. It purports to be a continuation of U.S.

        application Ser. No. 15/459,906 filed March 15, 2017, which in turn claims the benefit of



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         U.S. Provisional Applications No. 62/420,998, filed on November 11, 2016, and No.

         62/440,938, filed on December 30, 2016. A copy of the ’271 Patent is attached hereto as

         Exhibit F; and

         (g)     U.S. Patent 10,499,228 (“the ’228 Patent”); the ’228 Patent was filed on January

         18, 2019 and issued on December 3, 2019. It purports to be a continuation-in-part of and

         claims the benefit of U.S. patent application Ser. No. 15/460,972, which was filed on

         March 16, 2017, which is a continuation of U.S. patent application Ser. No. 15/459,906,

         which was filed on March 15, 2017, now U.S. patent Ser. No. 10/045,184 issued Aug. 7,

         2018, and claimed the benefit of U.S. Provisional Applications No. 62/420,998, filed on

         November 11, 2016, and No. 62/440,938, filed on December 30, 2016. A copy of the

         ’228 Patent is attached hereto as Exhibit G.

         (collectively, the “Carnival Patents”).

         44.     As Carnival knows, the Carnival Patents are unenforceable because the applicants

  intentionally concealed relevant prior art and failed to identify correctly the inventorship of

  several of the Carnival Patents.

                             Fraudulent Failure To Identify Inventor

         45.     To the extent that the Carnival Patents are based on patentable inventions, they

  are unenforceable for fraudulently failing to name David DeCurtis as an inventor.

         46.     At all relevant times, federal law has required that an application for a patent filed

  with the USPTO “shall include, or be amended to include, the name of the inventor for any

  invention claimed in the application.” 35 U.S.C. § 115(a).

         47.     Where an application does not name the correct inventor(s), and the applicant has

  not filed a request to correct inventorship, USPTO personnel are directed to reject the claims



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  under 35 U.S.C. § 101 and 35 U.S.C. § 115. Additionally, at all relevant times, the patent

  regulations have provided that “[e]ach individual associated with the filing and prosecution of a

  patent application has a duty of candor and good faith in dealing with the [USPTO], which

  includes a duty to disclose to the [USPTO] all information known to that individual to be

  material to patentability,” as defined under the regulations. 37 C.F.R. § 1.56(a).

         48.     Under the patent regulations, the duty of candor and good faith applies to

  “individuals associated with the filing or prosecution of a patent application,” including not only

  the inventors and attorneys, but “[e]very other person who is substantively involved in the

  preparation or prosecution of the application and who is associated with the inventor, the

  applicant, an assignee, or anyone to whom there is an obligation to assign the application.” 37

  C.F.R. § 1.56(c). This duty includes the correct identification of all inventors.

         49.     On the applications for the ’184 Patent, the ’514 Patent, the ’228 Patent, the ’516

  Patent, the ’271 Patent, the ’642 Patent, and the ’978 Patent, Padgett and Jungen, both of them

  Carnival employees at the time, are named as inventors. But these patents omit David DeCurtis

  as an inventor despite his material contributions to the conception of at least one aspect in one or

  more claims in each of these patents. David DeCurtis contributed to the ideas in these patents

  during his work on the Experience Innovation Center (“EIC”) project at Carnival between 2014

  and 2015.

         50.     Before filing the applications for the ’184 Patent, the ’514 Patent, the ’228 Patent

  the ’516 Patent, the ‘978 Patent, the ’271 Patent, and the ’642 Patent, Carnival and its agents

  recognized David DeCurtis as the inventor on a number of the patent ideas included in these

  applications. Upon information and belief, corroborating evidence exists at Carnival

  demonstrating DeCurtis’s role as an inventor.



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          51.     For example, DeCurtis did, in fact, conceive of the idea for guest device

  wearables that could be mounted in a variety of accessory form factors. DeCurtis conceived of

  this idea as an improvement to the Disney “MagicBand” concept, which was restricted to a

  single wearable band.

          52.     DeCurtis’s idea was that guests on extended cruise voyages would wear the guest

  devices in a variety of different social situations and that it would be desirable to have the guest

  device easily interface with a number of different wearable accessories (e.g., wristband,

  necklace, lapel pin, etc.).

          53.     DeCurtis first conveyed this idea to Padgett in approximately July 2014 during a

  meeting in Padgett’s office at Carnival. Padgett had wanted to use a version of the MagicBand

  guest device but DeCurtis explained that a plastic wrist device would not work for cruise ship

  passengers, especially those dressed for dinner in formal wear. DeCurtis proposed using a gold

  coin (like a pirate coin) and explained that the device should fit into a pocket, on a belt, or as part

  of a necklace. Padgett accepted DeCurtis’s idea, which became embodied in the “Ocean Coin”

  concept (later renamed “OceanMedallion”). DeCurtis then worked with Adam Leonards and

  Glenn Curtis to develop DeCurtis’s idea, which existed before Leonards began work on the idea

  or Curtis joined the “OceanMedallion” project.

          54.     DeCurtis’s ideas related to wearable guest devices are now reflected in claim

  elements of at least the ’271 Patent, the ’642 Patent, and at least claim 20 of the ’514 Patent,

  specifically elements relating to the shape, size, and design of portable guest devices and the

  ability of these portable guest devices to interact with accessories.

          55.     Additionally, Carnival and Padgett knew that DeCurtis was among a group of

  inventors for techniques related to unlocking doors using low power BLE technologies.



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         56.     David DeCurtis in fact, contributed to the conception of the overall door

  unlocking concept during his work on the Carnival EIC program. This work built upon the BLE-

  door lock concepts that Padgett and his team experimented with at Disney.

         57.     For example, in approximately the summer of 2014, DeCurtis told Padgett that

  guest wearable devices must have both BLE and NFC capabilities to ensure the ability to unlock

  doors even when a BLE battery was exhausted. This idea is now reflected in at least claim 10 of

  the ’514 Patent.

         58.     Moreover, in January and February of 2015, DeCurtis helped to conceive of

  techniques for communicatively coupling door access panels via power efficient networks to a

  centralized reservation and logging system. These ideas are reflected in at least the claims of the

  ’184 Patent and the ’228 Patent.

         59.     Also in January and February 2015, DeCurtis helped to conceive of techniques for

  efficiently leveraging BLE communications in both a low-power beacon state, as well as a more

  power-intensive bi-directional state. These ideas are reflected in at least the claim 11 of the ’184

  Patent and claim 1 of the ’978 Patent.

         60.     Finally, in early 2015 DeCurtis conceived and communicated to others on the EIC

  project the idea for using capacitive touch door handles that would only trigger the latch upon a

  user touching the door handle to improve safety. Carnival and its agents recognized DeCurtis’s

  sole conception of this idea. This idea is now reflected in at least the claims of the ’516 Patent.

         61.     Based on standard practices and procedures at the USPTO, Padgett and Jungen

  would have had to disclose the inventors on each of the inventions for which they sought patents.

  The Carnival Patents do not identify David DeCurtis as an inventor.




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         62.     To this date, none of the ’184 Patent, the ’514 Patent, the ’228 Patent, the ’516

  Patent, the ’271 Patent, the ’642 Patent, or the ’978 Patent have been amended to include David

  DeCurtis as an inventor.

         63.     More than half of the persons named as inventors on the Carnival Patents,

  including Padgett and Jungen, were familiar with the filing requirements of the USPTO from

  filing other, unrelated patents. Several of the named inventors on the Carnival Patents have

  applied for more than 10 patents. Among the most frequent filers were Padgett, Jungen, and

  Leonards.

         64.     Despite a duty to disclose it, Padgett and Jungen each knowingly and intentionally

  concealed from the USPTO that David DeCurtis was an inventor on many of the patent ideas

  presented as purported inventions claimed in the applications for the Carnival Patents.

         65.     The failure to identify DeCurtis as an inventor was not inadvertent; it was

  repeated over the course of multiple patent applications filed at different times over a period of

  three years.

         66.     As Carnival, Padgett, and Jungen knew, had David DeCurtis been named as an

  inventor on the Carnival Patents, DeCurtis would have been under an obligation to explain to the

  USPTO examiner that certain other aspects of the inventions that Carnival was trying to patent,

  including aspects of the invention that is the subject of the ’184 Patent, were taught and/or

  suggested by prior art Disney systems discussed below. For example, although the applications

  for the Carnival Patents disclosed some of the patents and patent applications for Disney’s

  existing “Be Our Guest” guest engagement system, the applications do not disclose the full

  extent of the “Be Our Guest” system that was already in use and otherwise available to the public

  and extensively described in multiple published articles.



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         67.     Padgett knew that the patent applications for Disney’s existing “Be Our Guest”

  guest engagement system did not disclose the full extent of the system that was already in use.

  David DeCurtis had raised this fact with Padgett at the time the Disney application was filed.

  Padgett responded that he did not care and that DeCurtis should not worry about it.

         68.     Carnival, Padgett, and Jungen knew that these prior art systems and publications

  relating to those systems would materially affect the prosecution of certain aspects of the

  Carnival Patents. They therefore intentionally concealed DeCurtis’s involvement in other aspects

  by misrepresenting the inventorship of the Carnival Patents.

         69.     Upon information and belief, other employees and representatives of Carnival

  who were associated with the filing or prosecution of the patent family were also (1) then aware

  that David DeCurtis was an inventor of many of the patent ideas asserted as claims in the family

  of Carnival Patents, (2) had a duty to disclose David DeCurtis’s involvement with these ideas,

  and (3) intentionally concealed this fact from the USPTO.

         70.     The USPTO would not have issued the ’184 Patent, the ’514 Patent, the ’228

  Patent, the ’516 Patent, the ’271 Patent, the ’642 Patent, or the ’978 Patent if it had known that

  the applicants had misrepresented inventorship by failing to disclose the true origin of these

  purported inventions.

         71.     Each of the Carnival Patents share substantially similar, and in many cases

  identical, specifications. The inventions disclosed in the Carnival Patents are all directed to guest

  engagement systems, and they all stem from related developmental work on the EIC system.

  Carnival and its agents omitted David DeCurtis from each of the Carnival Patents with the

  similar motive of avoiding the possibility that DeCurtis would identify certain material prior art

  that would impact the prosecution of the entire Carnival Patent family. As such, the fraudulent



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  omission of David DeCurtis on any one of the Carnival Patents infects each of the other patents,

  rendering each omission an independent basis for finding all of the patents unenforceable.

                               Fraudulent Concealment Of Prior Art

         72.     The Carnival Patents were fraudulently obtained, and Carnival therefore knows

  that they are unenforceable, because the purported inventors, patent attorneys, and others

  associated with their filing and prosecution knowingly failed to disclose to the USPTO material

  prior art that would have otherwise prevented the Carnival Patents from issuing.

         73.     As inventors of the Carnival Patents, which were filed before the USPTO, at least

  Padgett and Jungen would have been familiar with the duty of disclosure. At least Padgett and

  Jungen breached this duty of disclosure by intentionally failing to disclose material prior art.

         74.     For example, the Disney “Be Our Guest” system was in public use in the United

  States as early as 2012—more than one-year before the earliest purported priority date of any of

  the Carnival Patents. Any person skilled in the art of designing guest engagement systems would

  understand the technology, systems, and methods involved in the “Be Our Guest” guest

  engagement system. As known to Carnival and its agents, the “Be Our Guest” systems was

  therefore in “public use” and “available to the public,” qualifying it as prior art under AIA 35

  U.S.C. § 102(a)(1).

         75.     Additionally, publicly available information from this time makes clear that

  relevant implementation details of the technology powering Disney’s systems, including the “Be

  Our Guest” system were known to the public and, thus, were prior art. For example, a May 31,

  2013 article in the MIT Technology Review describes the Disney MagicBand as “an electronic

  wristband” that “uses Bluetooth and contactless NFC technology.” The article describes how the

  MagicBand “replaces a person’s ticket and can be used to tag into rides and other attractions at



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  the park. It can also be used to open a guest’s hotel door, and to pay in stores at the resort. In the

  future, the Bluetooth link will make it possible for you to wander up to an attraction or Disney

  character and greeted using your first name.”

         76.     With respect to the Carnival Patents identified above, the duty of disclosure

  required the disclosure of information sufficient to inform the USPTO regarding the full extent

  of the “Be Our Guest” system as well as other similar systems that were available, including the

  Child Detection Agency (“CDA”) system available on Disney Cruise Lines. Although certain

  patents and patent applications related to these systems were disclosed to the USPTO in

  connection with the prosecution of the Carnival Patents, these patents and patent applications

  failed to disclose the full extent of the prior art systems and the available publications relating to

  those systems, and therefore failed to satisfy the duty of disclosure.

         77.     Carnival employees and agents involved in the prosecution of the Carnival

  Patents understood that the implementation details of the prior art Disney systems were material

  to the prosecution of the Carnival Patents. For example, in a Travel Weekly interview published

  on November 23, 2014, Padgett made the following comments regarding the significance of

  relevant features of the Disney MagicBand system that he had previously worked on:

         Obviously the MagicBand would be the most central, unifying element that
         holistically reinvented the Disney World experience. It was all created with the
         mindset of what was good for the guest. What you see with the MagicBand [is]
         access to the room, access to the park, access to Fast Pass, access to payments.
         But it’s not just that you do those things, but it’s that you do them in a way that’s
         more personalized, more customized, more seamless and more hassle-free than
         has ever been created before. That’s the best example in the industry by far.

         78.     Despite appreciating the significance of these features within the prior art Disney

  systems, neither Padgett nor others involved in the prosecution of the Carnival Patents disclosed

  information sufficient to allow the patent examiner to appreciate them to the fullest extent.



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          79.    Had the USPTO examiner been made aware of the full extent of the Disney “Be

  Our Guest” or “CDA” guest engagement system prior art, the USPTO examiner would not have

  issued several of the Carnival Patents, including at least the ’184 Patent.

          80.    For example, the USPTO examiner originally rejected independent claim 1 of the

  ’184 Patent because of prior art, most notably the “Lang patent.” The Carnival applicants

  (Padgett, et al.) asserted that Lang taught a device emitting a beacon signal with the device being

  mounted on a doorjamb. The applicants amended claim 1 to refer to guests devices that were

  portable and were to be carried by the users of the guest engagement system. The applicants

  argued that the prior art did not teach “the claimed system in which ‘sensors each mounted at a

  different know [sic] location’ are ‘operative to detect the periodic beacon signals […] emitted

  […] by guests devices’ where the guest devices are portable and carried by users.” However, the

  amended claim that the applicants asserted as valid against the prior art cited by the USPTO

  examiner is precisely the invention embodied in the Disney “Be Our Guest” restaurant. “Be Our

  Guest” opened to the public in 2012. A person having ordinary skills in the art would have been

  able to identify this aspect of the invention simply by experiencing the restaurant.

          81.    Upon information and belief (that information including the patent prosecution

  history), Padgett, Jungen, and other Carnival employees and representatives knew that the

  USPTO examiner would not have issued several of the Carnival Patents, including the ’184

  Patent, if the USPTO examiner had been made aware of the full extent of the Disney “Be Our

  Guest” and/or “CDA” guest engagement system prior art.

          82.    Padgett and Jungen had a specific intent to deceive the USPTO by withholding

  disclosure of the full extent of the Disney “Be Our Guest” and “CDA” guest engagement system

  prior art.



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         83.     Upon information and belief, other Carnival employees and representatives who

  were associated with the filing or prosecution of the Carnival guest engagement system patents,

  including the ’184 Patent, had a specific intent to deceive the USPTO by withholding disclosure

  of the full extent of the Disney “Be Our Guest” and “CDA” guest engagement system prior art.

         84.     Padgett, Jungen, and, upon information and belief, other Carnival employees and

  representatives, fraudulently procured the Carnival Patents knowing that DeCurtis LLC and its

  customers would be forced to engage in the expensive and time-consuming process of designing

  alternatives to the fraudulently-obtained and otherwise unenforceable patents to avoid the

  expense and risk of patent infringement litigation.

                                   Interference With Customers

         85.     In or around 2017, DeCurtis LLC entered into a contractual and business

  relationship with NCL, which operates Norwegian Cruise Lines, to license the DXP to NCL.

         86.     In or around 2017, DeCurtis LLC entered into a contractual and business

  relationship with Virgin to license the DXP to Virgin.

         87.     Carnival learned of DeCurtis LLC’s contractual and business relationships with

  NCL and Virgin to design, engineer, and sell guest engagement systems.

         88.     Perceiving DeCurtis LLC as a competitive threat, Carnival engaged in a campaign

  to interfere with DeCurtis LLC’s contractual and business relationships.

         89.     On or around January 29, 2020, Carnival caused its lawyer to send a letter to

  NCL’s general counsel. In that letter, Carnival’s counsel referenced NCL’s intent to develop a

  technology platform with DeCurtis LLC and suggested that platform might infringe what counsel

  called Carnival’s “robust and growing patent portfolio,” and referenced, among other things, the

  ’271 Patent, the ’978 Patent, the ’516 Patent, the ’514 Patent, the ’642 Patent, the ’184 Patent,



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  and the ’228 Patent. Carnival’s lawyer closed the letter by requesting that NCL notify Carnival

  of “potential infringement of any Carnival patent and/or unauthorized use of other Carnival

  intellectual property related to wearable devices.”

            90.   Carnival’s counsel referenced the Carnival Patents even though Carnival

  employees (including Padgett and Jungen) knew at the time that the Carnival Patents did not

  identify the correct inventors, were procured by fraud, and were unenforceable.

            91.   Then, in February 2020, Carnival’s chief executive officer, Arnold Donald,

  contacted NCL’s chief executive officer and asked his counterpart questions about DeCurtis’s

  platform, the DXP System, and discussed the supposed infringement of Carnival’s patents.

            92.   Donald referenced the Carnival Patents even though Carnival employees

  (including Padgett and Jungen) knew at the time that the Carnival Patents did not identify the

  correct inventors, were procured by fraud, and were unenforceable.

            93.   Following the call, NCL put on hold any work by DeCurtis LLC on Guest

  Engagement Systems and told DeCurtis LLC it would not pay amounts owed under the contract.

            94.   On or around February 4, 2020, Carnival caused its lawyer to send a letter to

  Virgin’s Vice President Legal. In the letter, Carnival’s lawyer again referenced Carnival’s

  “robust and growing” patent portfolio and identified among other things, the ’271 Patent, the

  ’978 Patent, the ’516 Patent, the ’514 Patent, the ’642 Patent, the ’184 Patent, and the ’228

  Patent.

            95.   Carnival also caused its lawyer to send DeCurtis a January 29, 2020 letter

  claiming that the public descriptions of the technology platform that NCL was developing in

  conjunction with DeCurtis “closely track” Carnival’s technology. Carnival identified the

  Carnival Patents and advised of its intent “to vigorously enforce its intellectual property rights.”



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  On February 20, 2020, Carnival sent a second letter to DeCurtis, reiterating the statements from

  the first letter and also claiming that “recent events ha[d] heightened the reasons for Carnival’s

  concern” that DeCurtis was infringing on its patents. Specifically, Carnival noted that Virgin had

  announced the launch of the “Band,” and claimed that this technology, too, was similar to its

  OceanMedallion (which it had, in fact, hired DeCurtis LLC to develop in 2014). Carnival said it

  had “serious concerns” that DeCurtis LLC was not “respect[ing] its intellectual property rights.”

  Carnival promised it would “exercise its rights to prevent and remedy any infringement” and

  warned that the consequences of “willful infringement” are “severe.” Carnival’s lawyer further

  demanded inspection of DeCurtis LLC’s books and records pursuant to the services agreement

  under which DeCurtis helped to develop the OceanMedallion.

         96.     On February 24, 2020, Carnival sent a letter to Virgin’s outside counsel asking

  Virgin to confirm certain information about the “Band” in order to “evaluate whether Virgin’s

  planned launch of ‘the Band’ and related technology may raise issues under Carnival’s patents.”

         97.     Virgin has subsequently informed DeCurtis LLC of Carnival’s communications,

  which has threatened DeCurtis’s relationship with Virgin and otherwise caused DeCurtis

  substantial financial harm.

                                     Sham Threats of Litigation

         98.     The communications described above from Carnival to NCL and Virgin

  amounted to sham threats of litigation.

         99.     The threats were objectively baseless in that no reasonable litigant making such

  threats could realistically expect success on the merits.

         100.    At all relevant times, Carnival employees (including Padgett) knew that the

  patents referenced in these threats were unenforceable under federal law and USPTO regulations



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  because of their failure to disclose material prior art and the failure to identify David DeCurtis as

  one of the inventors.

         101.    Carnival’s purpose in making these threats was not to seek government redress or

  otherwise protect legitimate patent rights. Rather, Carnival intended to inhibit competition and

  adversely affect the business of DeCurtis LLC.

                                        The Relevant Markets

         102.    A relevant product market is the market for systems and methods for providing

  guests with seamless engagement with the facilities of cruise ships through the use of wireless

  sensing technologies (“Guest Engagement Systems”).

         103.    Because of the characteristics of Guest Engagement Systems, it is unlikely that

  cruise lines as the buyers of such products would switch to purchasing another type of system in

  response to a small, but significant price increase.

         104.    Guest Engagement Systems are uniquely tailored to cruise ships. For example, a

  critical element of a guest engagement system for a cruise ship is an indoor location tracking

  system. Such a system must be designed to handle the location of over 4,000 passengers

  simultaneously engaged in thousands of activities throughout a ship. This would include

  essentially pinpoint locations in an emergency to locate missing passengers when all of the

  passengers must muster at lifeboat stations. Guest engagement systems for theme parks or hotels

  would not need the full capabilities of such systems. Furthermore, unlike a hotel, all of a cruise

  ships’ guests disembark essentially at once and a new group of guests embark equally quickly. A

  hotel or theme park does not routinely have such issues. Cruise ships cross time zones and

  geopolitical boundaries that must be taken into account by the system. In addition, the location

  and proximity features of a cruise ship guest engagement system must be integrated with unique



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  applications on a cruise ship such as the property management systems, the crew management

  systems, and the safety systems.

         105.    Consequently, a cruise line could not simply substitute systems implemented for

  other types of facilities, such as theme parks or hotels. To do so would require expensive and

  time-consuming modifications and additional original programming in order to make a system

  designed for other facilities applicable to cruise ships.

         106.    The relevant geographic market for Guest Engagement Systems is worldwide.

         107.    A second but related relevant product market is the market for cruise ship travel

  with Guest Engagement Systems.

         108.    Given the importance of Guest Engagement Systems on cruise ships, cruise line

  travel without such systems is not competitive with cruise line travel with such systems. On

  information and belief based on statements in Carnival’s website, Carnival, as the largest cruise

  line holding company with 104 ships and more than forty-seven percent of the cruise passengers

  worldwide in 2018, is putting such systems on all of its ships currently in its fleet or as new ships

  are built. NCL, as the third largest cruise line holding company with twenty-four ships and nine

  percent of the passengers, had a contract with DeCurtis to place such systems on all of its ships

  before Carnival interfered. Based on statements in its annual report, MSC Cruise Line, which

  accounts for seven percent of the passengers carried in 2018, appears to be intending to place

  such systems on all new and existing ships.

         109.    It is unlikely that sufficient numbers of consumers would switch to a cruise line

  without Guest Engagement Systems in response to a small, but significant increase in price to

  counteract any attempt at supra-competitive pricing.




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          110.    The relevant geographic market for cruise ship travel with Guest Engagement

  Systems is worldwide.

                                       Anticompetitive Effect

          111.    As a result of Carnival’s conduct, prices for Guest Engagement Systems are

  higher, and output is lower, than otherwise would be the case.

          112.    Furthermore, as a result of Carnival’s conduct, cruise lines with Guest

  Engagement Systems would be able to charge consumers undertaking cruise ship travel higher

  prices than would otherwise be the case.

          113.    As a result of Carnival’s conduct, the public engaging in cruise line travel that

  wanted a cruise experience with a Guest Engagement System would have fewer choices.

          114.    In addition, as a result of Carnival’s anticompetitive acts, DeCurtis LLC has been

  injured in its business.

                                    Carnival’s Monopoly Power
                             In The Guest Engagement Systems Market

          115.    Carnival has monopoly power in the relevant market for Guest Engagement

  Systems.

          116.    On information and belief (based on an Internet search), currently only three

  entities offer such Guest Engagement Systems: Carnival, DeCurtis LLC, and a collaboration

  between Aruba and Favendo.

          117.    If DeCurtis LLC were eliminated as a competitor through fraudulent patent

  infringement litigation or threats of such litigation, Carnival would have over 87 percent of the

  market based on the number of cruise ships that are (a) either outfitted with Guest Engagement

  Systems or (b) likely to be so outfitted in fleets that have some ships already offering such

  systems. (Because existing cruise ships are out of service only 12 – 14 days every three years, an


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  entire cruise line fleet cannot be retrofitted with a Guest Engagement System immediately but

  only over a period of time).

         118.     Barriers to entry exist for the creation, design, engineering, manufacture, and sale

  of Guest Engagement Systems. These barriers include the necessity of high capital outlays, and

  significant investment in research and development to design alternatives to Carnival’s patents,

  as well as distribution and marketing expenses to overcome the preferences of cruise line

  customers for a dominant incumbent.

         119.     Furthermore, entrants into this market must enter with both the hardware and

  software capabilities of Guest Engagement Systems for cruise lines to effectively compete.

  Those firms with hardware capabilities in other industries or for other facilities that are most

  likely new entrants, particularly in sensing technology, do not have the appropriate software

  capabilities to design and implement systems for cruise ships with that sensing technology. It

  would take at least five years for such firms to develop such capabilities.

         120.     Carnival has created additional barriers to entry by threatening other cruise lines

  that it will file infringement actions against cruise ship companies seeking to use DeCurtis LLC’s

  systems and methods. In the face of such litigation threats, a potential new entrant or its cruise

  line customers may decide that the cost of protracted litigation is too great to risk entry.

                     Carnival Has A Dangerous Probability of Monopolizing
                The Market for Cruise Ship Travel With Guest Engagement Systems

         121.     Carnival has a dangerous probability of obtaining monopoly power in the relevant

  market for cruise ship travel with Guest Engagement Systems.

         122.     The number of major independent cruise lines is very concentrated, with just three

  cruise line holding companies making up the vast bulk of cruise lines measured by the number of

  ships in service, passengers carried, and revenue. These are Carnival, NCL, and Royal Caribbean


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  Cruise Lines. Together, these three cruise line holding companies account for more than fifty-

  four percent of the cruise ships worldwide, seventy-nine percent of the passengers carried, and

  seventy-two percent of the revenues.

          123.    Carnival, with its nine cruise line brands, accounts for more than thirty-three

  percent of all cruise line ships in service.

          124.    Were Carnival to be successful in blocking, for example, NCL from obtaining

  access to Guest Engagement Systems, Carnival would have in excess of eighty-four percent of

  the cruise ships currently outfitted with Guest Engagement Systems or cruise ships likely to be

  so outfitted in fleets that already offer such systems.

          125.    It is highly likely that Carnival has also threatened Royal Caribbean Cruise Lines

  with patent infringement litigation or that Royal Caribbean is aware of Carnival’s threats to NCL

  and Virgin. In either case, Royal Caribbean may decide that it would be too risky to use DeCurtis

  LLC’s Guest Engagement System.

          126.    This enhances the risk that Carnival’s cruise ships would be dominant in cruise

  ship travel with Guest Engagement Systems.

                                          Interstate Commerce

          127.    Carnival’s conduct in restraint of trade was in interstate commerce. Upon

  information and belief, Carnival used the U.S. Mail and the Internet to intentionally defraud the

  USPTO.

          128.    Moreover, as a result of Carnival’s conduct, the price of Guest Engagement

  Systems sold in interstate commerce is likely to be higher than it would have been but for

  Carnival’s conduct.




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                                       Declaratory Judgment

         129.    Since Carnival has begun issuing threats of litigation and claiming that the DXP

  System and services infringe on Carnival’s patents, NCL has suspended work and payments to

  DeCurtis. Additionally, DeCurtis has had to indemnify Virgin against claims of infringement.

  Carnival’s unfounded accusations of infringement are causing concrete and immediate injury to

  DeCurtis’s business by casting a cloud of suspicion over the technology and services that are

  core to its business. DeCurtis seeks a declaratory judgment that its DXP System does not infringe

  certain Carnival patents in order to protect its business from Carnival’s unwarranted interference.

  Furthermore, DeCurtis seeks a declaratory judgment that the Carnival Patents are unenforceable.

                                      Causation And Damages

         130.    As a direct and proximate result of Carnival’s conduct, DeCurtis LLC has been

  injured.

         131.    But for Carnival’s conduct, DeCurtis LLC would have been able to compete more

  effectively.

         132.    DeCurtis LLC has or will suffer damages because of Carnival’s conduct.

                                              COUNT I

                             Declaratory Judgment –Unenforceability

         133.    DeCurtis LLC restates and incorporates by reference the allegations in paragraphs

  1 through 101, and paragraph 129, as if fully set forth herein.

         134.    Carnival and its agents withheld material prior art from the USPTO during the

  filing and prosecution of the Carnival Patents.

         135.    Had Carnival and its agents not withheld material prior art from the USPTO, the

  Carnival Patents would not have issued.



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         136.    Accordingly, the Carnival Patents are unenforceable.

         137.    Alternatively, the Carnival Patents are unenforceable because David DeCurtis is

  not named as an inventor.

         138.    A substantial, immediate, and real controversy exists between DeCurtis and

  Carnival regarding whether the Carnival Patents are unenforceable. A judicial declaration is

  necessary to determine the parties’ respective rights regarding the unenforceability of the

  Carnival Patents.

         139.    DeCurtis seeks a judgment declaring that the Carnival Patents are unenforceable.

                                             COUNT II

                                          Monopolization
                           In Violation Of Section 2 Of The Sherman Act

         140.    DeCurtis LLC restates and incorporates by reference paragraphs 1 through 132 as

  though fully set forth herein.

         141.    Carnival has a monopoly and monopoly power in the market for Guest

  Engagement Systems.

         142.    Carnival has engaged in anticompetitive acts in furtherance of its specific intent to

  acquire and maintain that monopoly power. These acts include communications from Carnival to

  customers of DeCurtis LLC (who are also Carnival’s competitors) insinuating that DeCurtis LLC

  has infringed or is infringing Carnival’s patents. Carnival intended such communications to be

  understood as thinly veiled threats that Carnival will bring patent infringement litigation against

  DeCurtis’s customers, and in fact those communications were so understood by their recipients.

  Carnival undertook these acts even though it knows that its patents are unenforceable.

         143.    Carnival has undertaken these acts with the intent to interfere with DeCurtis

  LLC’s business and to threaten other competitors and customers with litigation.


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         144.    By reason of Carnival’s conduct, DeCurtis LLC has been injured in its business.

         145.    Unless the injunctive relief requested below is granted, irreparable injury will

  occur, and will continue to occur, to DeCurtis LLC.

                                             COUNT III

                                     Attempted Monopolization
                           In Violation Of Section 2 Of The Sherman Act

         146.    DeCurtis LLC restates and incorporates by reference paragraphs 1 through 132 as

  though fully set forth herein.

         147.    Carnival has a dangerous probability of achieving monopoly power in the markets

  for Guest Engagement Systems and cruise travel with Guest Engagement Systems.

         148.     Carnival has a specific intent to achieve monopoly power in the markets for

  Guest Engagement Systems and cruise travel for Guest Engagement Systems.

         149.    Carnival has engaged in anticompetitive acts in furtherance of its specific intent to

  acquire monopoly power. These acts include communications from Carnival to customers of

  DeCurtis LLC (who are also Carnival’s competitors) insinuating that DeCurtis LLC has

  infringed or is infringing Carnival’s patents. Carnival intended such communications to be

  understood by these customers as thinly veiled threats that Carnival will bring patent

  infringement litigation against DeCurtis LLC and DeCurtis LLC’s customers, and in fact those

  communications were so understood by their recipients. Carnival undertook these acts even

  though it knows that its patents are unenforceable.

         150.    Carnival has undertaken these acts with the intent to interfere with DeCurtis

  LLC’s business and to threaten other competitors and customers with litigation.

         151.    By reason of Carnival’s conduct, DeCurtis LLC has been injured in its business.




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         152.    Unless the injunctive relief requested below is granted, irreparable injury will

  occur, and will continue to occur, to DeCurtis LLC.

                                             COUNT IV

                Tortious Interference With Contract And Business Relationships

         153.    DeCurtis LLC restates and incorporates by reference paragraphs 1 through 101 as

  though fully set forth herein.

         154.    In or around 2017, DeCurtis LLC entered into a business and contractual

  relationship with NCL to license the DXP to NCL.

         155.    In or around 2017, DeCurtis LLC entered into a business and contractual

  relationship with Virgin to license the DXP to Virgin.

         156.    Carnival had knowledge of these business and contractual relationships.

         157.    As described above, Carnival intentionally and unjustifiably interfered in these

  business and contractual relationships by making thinly veiled threats that it would bring patent

  infringement litigation against DeCurtis LLC and DeCurtis LLC’s customers even though

  Carnival knows that its patents are unenforceable.

         158.    Carnival’s actions were not taken in good faith and its allegations of infringement

  are objectively baseless.

         159.    As a consequence of Carnival’s actions, NCL has stopped working with DeCurtis

  LLC in violation of its contractual obligations.

         160.    Carnival’s actions have also threatened DeCurtis LLC’s relationship with Virgin

  and otherwise caused DeCurtis LLC substantial financial harm.




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         161.      DeCurtis LLC has been (and if not stopped, will be further) damaged by

  Carnival’s intentional and unjustified interference in DeCurtis LLC’s business and contractual

  relationships.

                                              COUNT V

                                         Unfair Competition
                                       (Florida Common Law)

         162.      DeCurtis LLC restates and incorporates by reference paragraphs 1 through 101 as

  though fully set forth herein.

         163.      DeCurtis LLC and Carnival are competitors and compete over a common pool of

  customers in the market for Guest Engagement Systems.

         164.      As described above, Carnival intentionally engaged in deceptive and fraudulent

  conduct by making false representations to NCL and Virgin that it had enforceable patents that it

  claimed DeCurtis LLC was infringing when it knew at all relevant times that its patents are

  unenforceable.

         165.      As described above, Carnival’s actions resulted in consumer confusion. NCL has

  stopped working with DeCurtis LLC due to the confusion caused by Carnival’s conduct.

  Carnival’s deceptive and fraudulent representations created in NCL the misapprehension that

  DeCurtis LLC had infringed on Carnival’s patents.

         166.      Further, as described above, Carnival’s actions resulted in consumer confusion

  because Carnival’s deceptive and fraudulent representations also created in Virgin the

  misapprehension that DeCurtis LLC was infringing on Carnival’s patents, which has threatened

  DeCurtis LLC’s relationship with Virgin and otherwise caused DeCurtis LLC substantial

  financial harm.




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         167.    In addition, upon information and belief, Carnival has engaged in fraudulent and

  deceptive conduct resulting in consumer confusion by communicating, advertising, and/or

  marketing to other customers in the market for Guest Engagement Services that the Carnival

  Patents are enforceable, when it has known at all relevant times that its patents are

  unenforceable. DeCurtis LLC has been damaged as a result of Carnival’s unfair competition.

                                             COUNT VI

                            Declaratory Judgment – Non-Infringement
                             One Or More Claims Of The ’184 Patent

         168.    DeCurtis restates and incorporates by reference the allegations in paragraphs 1

  through 101, and paragraph 129, as if fully set forth herein.

         169.    On information and belief, Carnival claims to own all rights, title, and interest in

  the ’184 Patent.

         170.    The ’184 Patent has four independent claims, claims 1, 7, 11, and 19.

         171.    Claim 1 of the ’184 Patent recites:

         A guest engagement system comprising:

                 a plurality of portable guest devices provided to users of the guest engagement
                 system to be carried by the users, each guest device including a wireless
                 communication antenna and operative to emit a periodic beacon signal
                 broadcasting a unique identifier of the guest device using Bluetooth low energy
                 (BLE) communications;

                 a sensor network comprising a plurality of sensors each mounted at a different
                 known location and operative to detect the periodic beacon signals including the
                 unique identifiers emitted using BLE communications by portable guest devices
                 of the plurality of portable guest devices that are proximate to the sensor;

                 a communication network connecting each of the plurality of sensors of the sensor
                 network; and

                 a central server communicatively connected to each of the plurality of sensors of
                 the sensor network via the communication network, and storing a log associating
                 each unique identifier of a portable guest device detected using BLE


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               communications by a sensor of the sensor network with the known location of the
               sensor and a timestamp,

               wherein the plurality of sensors of the sensor network comprises a plurality of
               access panels each configured to control an associated electronically controlled
               door lock,

               each access panel is operative to detect the periodic beacon signals including the
               unique identifiers emitted using BLE communications by guest devices that are
               proximate thereto, and to selectively unlock the associated electronically
               controlled door lock based on the unique identifier of the detected periodic
               beacons, and

               each access panel comprises:

                      a radio configured for wireless communication with a door lock
                      communication module electrically connected to an electronically
                      controlled locking mechanism of the associated electronically controlled
                      door lock;

                      a first transceiver configured for wireless BLE communication with the
                      guest devices to identify users seeking to activate the electronically
                      controlled locking mechanism; and

                      a second transceiver configured for communication with the central server
                      storing identifiers of users authorized to activate the electronically
                      controlled locking mechanism.

        172.   Claim 7 of the ’184 Patent recites:

        A guest engagement system comprising:

               a plurality of portable guest devices provided to users of the guest engagement
               system to be carried by the users, each guest device including a wireless
               communication antenna and operative to emit a periodic beacon signal
               broadcasting a unique identifier of the guest device using Bluetooth low energy
               (BLE) communications;

               a sensor network comprising a plurality of sensors each mounted at a different
               known location and operative to detect the periodic beacon signals including the
               unique identifiers emitted using BLE communications by portable guest devices
               of the plurality of portable guest devices that are proximate to the sensor;

               a communication network connecting each of the plurality of sensors of the sensor
               network;



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               a central server communicatively connected to each of the plurality of sensors of
               the sensor network via the communication network, and storing a log associating
               each unique identifier of a portable guest device detected using BLE
               communications by a sensor of the sensor network with the known location of the
               sensor and a timestamp; and

               a plurality of interface devices providing personalized services to users of the
               guest engagement system,

               wherein the plurality of sensors of the sensor network comprises a plurality of
               access panels each configured to control an associated electronically controlled
               door lock,

               each access panel is operative to detect the periodic beacon signals including the
               unique identifiers emitted using BLE communications by guest devices that are
               proximate thereto, and to selectively unlock the associated electronically
               controlled door lock based on the unique identifier of the detected periodic
               beacons, and

               each interface device comprises an associated sensor of the plurality of sensors of
               the sensor network, and provides the personalized services to a user proximate
               thereto based on an identity of the user determined based on the unique identifier
               emitted using BLE communications by a guest device of the user.

        173.   Claim 11 of the ’184 Patent recites

        A guest engagement system comprising:

               a plurality of portable guest devices provided to users of the guest engagement
               system to be carried by the users, each guest device having a unique identifier and
               including first and second wireless communication antennas respectively
               configured for Bluetooth low energy (BLE) and near field communication (NFC)
               communications;
               a sensor network comprising a plurality of sensors each mounted at a different
               location, wherein at least one sensor of the plurality of sensors is operative to
               detect portable guest devices that are proximate thereto and receive unique
               identifiers therefrom based on BLE communication with the portable guest
               devices and at least another sensor of the plurality of sensors is operative to detect
               portable guest devices that are proximate thereto and receive unique identifiers
               therefrom based on NFC communication with the portable guest devices;

               a communication network connecting each of the plurality of sensors of the sensor
               network; and

               a central server communicatively connected to each of the plurality of sensors of
               the sensor network via the communication network, and storing a log associating


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               each unique identifier of a portable guest device received using BLE or NFC
               communications by a sensor of the sensor network,

               wherein each guest device is configured to selectively operate according to first
               and second operating modes, each guest device engaging in bi-directional
               communication using the first wireless communication antenna configured for
               BLE communications in the first operating mode and engaging in a beacon mode
               periodically broadcasting a beacon signal using the first wireless communication
               antenna configured for BLE communications in the second operating mode, and

               each sensor of the sensor network is operative to transmit a command to a guest
               device in its communication range to cause the guest device to change operating
               mode between the first and second operating modes.

        174.   Claim 19 of the ’184 Patent recites:

        A guest engagement system comprising:

               a plurality of portable guest devices provided to users of the guest engagement
               system to be carried by the users, each guest device having a unique identifier and
               including first and second wireless communication antennas respectively
               configured for Bluetooth low energy (BLE) and near field communication (NFC)
               communications;

               a sensor network comprising a plurality of sensors each mounted at a different
               location, wherein at least one sensor of the plurality of sensors is operative to
               detect portable guest devices that are proximate thereto and receive unique
               identifiers therefrom based on BLE communication with the portable guest
               devices and at least another sensor of the plurality of sensors is operative to detect
               portable guest devices that are proximate thereto and receive unique identifiers
               therefrom based on NFC communication with the portable guest devices;
               a communication network connecting each of the plurality of sensors of the sensor
               network; and

               a central server communicatively connected to each of the plurality of sensors of
               the sensor network via the communication network, and storing a log associating
               each unique identifier of a portable guest device received using BLE or NFC
               communications by a sensor of the sensor network,

               wherein the plurality of sensors of the sensor network comprises a plurality of
               vending terminals each configured authorize a payment based on a guest device,
               and

               each vending terminal is operative to engage in encrypted bi-directional
               communication with a guest device using NFC communications to authenticate



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                 the guest device and selectively authorize the payment based on the identity of the
                 authenticated guest device.

         175.    DeCurtis does not directly or indirectly infringe claims 1 and 7 of the ’184 Patent

  by making, using, selling, and/or offering for sale the DXP System, either literally or under the

  doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise

  make use of access panels “operative to detect the periodic beacon signals including the unique

  identifiers emitted using BLE communications by guest devices that are proximate thereto, and

  to selectively unlock the associated electronically controlled door lock based on the unique

  identifier of the detected periodic beacons.” The DXP System does not operate within a system

  having access panels that detect BLE communications for selectively unlocking electronically

  controlled door locks, but rather operates in a system using different communication protocols

  for unlocking doors.

         176.    In addition, DeCurtis does not directly or indirectly infringe claims 1 or 7 of the

  ’184 Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

  under the doctrine of equivalents, at least because its DXP System does not “stor[e] a log

  associating each unique identifier of a portable guest device detected using BLE communications

  by a sensor of the sensor network with the known location of the sensor and a timestamp.” The

  DXP system does not store the identifier detected by a sensor of the sensor network in a log that

  associates the identifier with the location of the sensor. Instead, the DXP System translates the

  unique identifier detected by a sensor of the sensor network into a different identifier, and uses a

  location engine to triangulate the position of a user.

         177.    In addition, DeCurtis does not directly or indirectly infringe claim 11 of the ’184

  Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

  under the doctrine of equivalents, at least because its DXP System does not employ, include, or


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  otherwise make use of “guest device[s] engaging in bi-directional communication using the first

  wireless communication antenna configured for BLE communications in the first operating

  mode” as required by claim 11 of the ’184 Patent. The DXP System does not comprise guest

  devices configured for use in a system having sensors enabling bi-directional BLE

  communications, and the guest devices would require additional configuration to operate in a

  system having such sensors.

         178.    In addition, DeCurtis does not directly or indirectly infringe claim 11 of the ’184

  Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

  under the doctrine of equivalents, at least because its DXP System does not employ, include, or

  otherwise make use of guest devices “configured to selectively operate according to first and

  second operating modes, each guest device engaging in bi-directional communication using the

  first wireless communication antenna configured for BLE communications in the first operating

  mode and engaging in a beacon mode periodically broadcasting a beacon signal using the first

  wireless communication antenna configured for BLE communications in the second operating

  mode.” The DXP System does not comprise guest devices that are configured for use in a system

  requiring selective operation according to two distinct modes. The DXP System does not

  comprise sensors enabling selective operation according to two distinct modes, and the guest

  devices would require additional configuration to operate in a system having such sensors.

         179.    In addition, DeCurtis does not directly or indirectly infringe claims 11 or 19 of the

  ’184 Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

  under the doctrine of equivalents, at least because its DXP System does not employ, include, or

  otherwise make use of a plurality of guest devices, “each guest device having a unique identifier

  and including first and second wireless communication antennas respectively configured for



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  Bluetooth low energy (BLE) and near field communication (NFC) communications.” The DXP

  System does not comprise guest devices having unique identifiers, rather guest devices can have

  multiple identifiers.

         180.    In addition, DeCurtis does not directly or indirectly infringe claims 11 or 19 of the

  ’184 Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

  under the doctrine of equivalents, at least because its DXP System does not comprise (i) “a

  sensor network comprising a plurality of sensors . . . wherein at least one sensor of the plurality

  of sensors is operative to detect portable guest devices that are proximate thereto and receive

  unique identifiers therefrom based on BLE communication . . . and at least another sensor of the

  plurality of sensors is operative to detect portable guest devices that are proximate thereto and

  receive unique identifiers therefore based on NFC communications . . .” ; do not comprise (ii) “a

  communication network connecting each of the plurality of sensors of the sensor network”; (iii)

  do not comprise “a central server communicatively connected to each of the plurality of sensors

  of the sensor network via the communications network” and (iv) do not “stor[e] a log associating

  each unique identifier of a portable guest device received using BLE or NFC communications by

  a sensor of the sensor network.” The DXP System is not configured to receive BLE and NFC

  communications over a single sensor network communicatively coupled to a central server. The

  DXP System is not configured to receive communications from a sensor network comprising

  NFC sensors communicatively coupled to a central server and capable of storing a log with each

  of the NFC identifiers received from a NFC sensor.

         181.    In addition, DeCurtis does not directly or indirectly infringe claim 19 of the ’184

  Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

  under the doctrine of equivalents, at least because its DXP System does not employ, include, or



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  otherwise make use of vending terminals “operative to engage in encrypted bi-directional

  communication with a guest device using NFC communications to authenticate the guest device

  and selectively authorize the payment based on the identity of the authenticated guest device” as

  required by claim 19 of the ’184 Patent. The DXP System does not comprise vending terminals,

  nor does it comprise guest devices that would allow any vending terminal to operate using

  encrypted bi-directional communication using NFC communications, and the DXP System as

  configured to be implemented by Virgin likewise will not operate in such a fashion.

         182.    A substantial, immediate, and real controversy exists between DeCurtis and

  Carnival regarding whether DeCurtis’s infringes the ’184 Patent by making, using, selling,

  and/or offering for sale DXP and related technologies and systems. A judicial declaration is

  necessary to determine the parties’ respective rights regarding the ’184 Patent.

         183.    DeCurtis seeks a judgment declaring that DeCurtis does not infringe, either

  literally or under the doctrine of equivalents, one or more claims of the ’184 Patent by making,

  using, selling, and/or offering for sale the DXP System, either directly under 35 U.S.C. § 271(a),

  or indirectly under 35 U.S.C. §§ 271(b) and (c).

                                             COUNT VII

                            Declaratory Judgment – Non-Infringement
                             One Or More Claims Of The ’514 Patent

         184.    DeCurtis restates and incorporates by reference the allegations in paragraphs 1

  through 101, and paragraph 129, as if fully set forth herein.

         185.    An immediate, real, and justiciable controversy exists between DeCurtis and

  Carnival regarding the use of the ’514 Patent.

         186.    On information and belief, Carnival claims to own all rights, title, and interest in

  the ’514 Patent.


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        187.   The ’514 Patent has four independent claims, claims 1, 11, 12, and 20.

        188.   Claim 1 of the ’514 Patent recites:

        A portable wireless device comprising:

               a body having a fully enclosed cavity, the body having all dimensions equal to or
               smaller than 2.5 inches, and the body having a thickness equal to or smaller than
               ⅝ inch;

               a processor, a memory, a battery, and first and second wireless communication
               antennas disposed in the cavity,

               wherein the first and second wireless communication antennas are respectively
               configured for Bluetooth low energy (BLE) and near field communication (NFC)
               communications, the first communication antenna configured for BLE
               communications has a J-shape that is elevated above a printed circuit board
               (PCB), the processor disposed in the cavity is configured to engage in bi-
               directional BLE and NFC communications using the first and second wireless
               communication antennas disposed in the cavity, and the processor selectively
               operates according to first and second operating modes having different respective
               intervals between periodic listen time periods during which the processor
               periodically listens for communications through the first or second wireless
               communication antennas.

        189.   Claim 11 of the ’514 Patent recites:

        A portable wireless device comprising:

               a body having a fully enclosed cavity, the body having all dimensions equal to or
               smaller than 2.5 inches, and the body having a thickness equal to or smaller than
               ⅝ inch;

               a processor, a memory, a battery, and first and second wireless communication
               antennas disposed in the cavity,

               wherein the first and second wireless communication antennas are respectively
               configured for Bluetooth low energy (BLE) and near field communication (NFC)
               communications,

               the processor is configured to establish secure communication links with remote
               communication devices using the first wireless communication antenna
               configured for BLE communications,

               the memory stores both public and private identifiers unique to the portable
               wireless device,


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               the processor controls the first wireless communication antenna to emit a periodic
               beacon signal broadcasting the unique public identifier of the portable wireless
               device using BLE communications, and

               the processor controls the first wireless communication antenna to transmit the
               private identifier only across secure communication links established with remote
               communication devices using BLE communications.

        190.   Claim 12 of the ’514 Patent recites:

        A portable wireless device comprising:

               a body having a peripheral member having front and rear openings respectively
               covered by front and rear caps, the peripheral member extending around a
               periphery of an enclosed cavity disposed within a space formed by the front and
               rear caps and the peripheral member, and

               a processor, a memory, a battery, and first and second wireless communication
               antennas disposed in the cavity, and

               a printed circuit board (PCB) disposed in the cavity and having the processor and
               the memory mounted thereon,

               wherein the first and second wireless communication antennas are respectively
               configured for Bluetooth low energy (BLE) and near field communication (NFC)
               communications, and

               wherein the first communication antenna configured for BLE communications has
               a J-shape that is elevated above the PCB.

        191.   Claim 20 of the ’514 Patent recites:

        A portable wireless device comprising:

               a body having a fully enclosed cavity, and

               a printed circuit board (PCB), a processor, a memory, a battery, and first and
               second wireless communication antennas disposed in the cavity,

               wherein the body has a frustum shape, including a front surface that is circular, a
               rear surface that is circular and has a diameter greater than that of the front
               surface, and a side surface that extends between the front and rear surfaces and is
               formed of a metal housing, having at least one gap extending through the metal
               housing from the front surface to the rear surface, and a non-conducting material
               disposed in the at least one gap of the metal housing,


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                wherein the front and rear surfaces have diameters of 0.75 to 2.5 inches, the body
                has a thickness of ⅛ to ⅝ inch, and an angle between the front surface and the
                side surface of the frustum-shaped body is in a range of 86 to 88 degrees,

                wherein the first and second wireless communication antennas are respectively
                configured for Bluetooth low energy (BLE) and near field communication (NFC)
                communications and the processor disposed in the cavity is configured to engage
                in bi-directional BLE and NFC communications using the first and second
                wireless communication antennas disposed in the cavity and

                the first communication antenna configured for BLE communications has a J-
                shape that is elevated above a surface of the PCB on which the processor and
                memory are mounted.

         192.   DeCurtis does not directly or indirectly infringe claims 1, 12, and 20 of the ’514

  Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

  under the doctrine of equivalents, at least because the DXP System does not employ, include, or

  otherwise make use of a portable wireless device comprising a first communication antenna

  wherein the “first communication antenna configured for BLE communications has a J-shape

  that is elevated above a printed circuit board (PCB).” The DXP System does not comprise

  portable wireless devices that have a J-shaped antenna, elevated above a printed circuit board,

  and configured for BLE communications. Rather, the DXP system uses portable wireless devices

  having a meandered trace antenna that is in the shape of a square sine wave.




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       ’514 Elevated J-Shaped Antenna                          DXP System Antenna




         193.   DeCurtis does not directly or indirectly infringe claim 11 of the ’514 Patent by

  making, using, selling, and/or offering for sale the DXP System, either literally or under the

  doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise

  make use of a portable wireless device comprising a processor, wherein “the processor is

  configured to establish secure communication links with remote communication devices using

  the first wireless communication antenna configured for BLE communications.” The DXP

  System is not configured such that the portable electronic devices establish secure

  communication links using a BLE antenna. Rather, the DXP System is configured such that the

  portable electronic devices operate only in unidirectional mode using a BLE antenna.

         194.   DeCurtis does not directly or indirectly infringe claim 11 of the ’514 Patent by

  making, using, selling, and/or offering for sale the DXP System, either literally or under the

  doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise

  make use of a portable wireless device comprising a processor, wherein “the processor controls



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  the first wireless communication antenna to emit a periodic beacon signal broadcasting the

  unique public identifier of the portable wireless device using BLE communications, and the

  processor controls the first wireless communication antenna to transmit the private identifier only

  across secure communication links established with remote communication devices using BLE

  communications.” The DXP System does not comprise portable wireless devices that are

  configured to limit the transmission of a private identifier over a secure communication link.

         195.    DeCurtis does not directly or indirectly infringe claim 20 of the ’514 Patent by

  making, using, selling, and/or offering for sale the DXP System, either literally or under the

  doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise

  make use of a portable wireless device, “wherein the body has a frustum shape, including a front

  surface that is circular, a rear surface that is circular and has a diameter greater than that of the

  front surface” or that has “a side surface that extends between the front and rear surfaces and is

  formed of a metal housing.” The DXP System does not comprise portable wireless devices that

  have a frustum shape, a circular front surface, a circular rear surface with diameter greater than

  that of the front surface, or a metal housing for any surface.




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       Carnival Patents:                   DXP System:                        DXP System:
        Portable Wireless             Virgin Portable Wireless             NCL Portable Wireless
      Device and Accessory             Device and Accessory                Device and Accessory




         196.    A substantial, immediate, and real controversy exists between DeCurtis and

  Carnival regarding whether DeCurtis infringes the ’514 Patent by making, using, selling, and/or

  offering for sale DXP and related technologies and systems. A judicial declaration is necessary

  to determine the parties’ respective rights regarding the ’514 Patent.

         197.    DeCurtis seeks a judgment declaring that DeCurtis does not infringe, either

  literally or under the doctrine of equivalents, one or more claims of the ’514 Patent by making,

  using, selling, and/or offering for sale the DXP System, either directly under 35 U.S.C. § 271(a),

  or indirectly under 35 U.S.C. §§ 271(b) and (c).

                                            COUNT VIII

                            Declaratory Judgment – Non-Infringement
                             One Or More Claims Of The ’228 Patent

         198.    DeCurtis restates and incorporates by reference the allegations in paragraphs 1

  through 101, and paragraph 129, as if fully set forth herein.




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         199.    On information and belief, Carnival claims to own all rights, title, and interest in

  the ’228 Patent.

         200.    The ’228 Patent has two independent claims, claims 1 and 13.

         201.    Claim 1 of the ’228 Patent recites:

                 A guest engagement system comprising:

                        a plurality of guest devices provided to users of the guest engagement
                        system, each guest device including a wireless communication antenna
                        and operative to emit a periodic beacon signal broadcasting a unique
                        identifier of the guest device using Bluetooth low energy (BLE)
                        communications;

                        a sensor network comprising a plurality of sensors each mounted at a
                        different known location and operative to detect the periodic beacon
                        signals including the unique identifiers emitted using BLE
                        communications by guest devices of the plurality of guest devices that are
                        proximate to the sensor;

                        a communication network connecting each of the plurality of sensors of
                        the sensor network;

                        a relational database in operable communication with the communication
                        network, the relational database associating each user with their respective
                        unique identifier and a gameplay status identifier;

                        one or more interactive displays, each in operable communication with the
                        sensor network via the communication network and configured to present
                        one or more interactive gaming options to the users of the guest
                        engagement system based on the detected periodic beacon signal and the
                        gameplay status identifier; and

                        a central server communicatively connected to each of the plurality of
                        sensors of the sensor network via the communication network, and storing
                        a log associating each unique identifier of a guest device detected using
                        BLE communications by a sensor of the sensor network with the known
                        location of the sensor and a timestamp in the relational database.

         202.    Claim 13 of the ’228 Patent recites:

                 A guest engagement system comprising:




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                         a plurality of guest devices provided to users of the guest engagement
                         system, each guest device having a unique identifier and including first
                         and second wireless communication antennas respectively configured for
                         Bluetooth low energy (BLE) and near field communication (NFC)
                         communications;

                         a sensor network comprising a plurality of sensors each mounted at a
                         different location, wherein at least one sensor of the plurality of sensors is
                         operative to detect guest devices that are proximate thereto and receive
                         unique identifiers therefrom based on BLE communication with the guest
                         devices and at least another sensor of the plurality of sensors is operative
                         to detect guest devices that are proximate thereto and receive unique
                         identifiers therefrom based on NFC communication with the guest
                         devices;
                         a communication network connecting each of the plurality of sensors of
                         the sensor network;

                         a relational database in operable communication with the communication
                         network, the relational database associating each user with their respective
                         unique identifier and a gameplay status identifier;

                         one or more interactive displays, each in operable communication with the
                         sensor network via the communication network and configured to present
                         one or more interactive gaming options to the users of the guest
                         engagement system based on a detected periodic beacon signal and the
                         gameplay status identifier; and

                         a central server communicatively connected to each of the plurality of
                         sensors of the sensor network via the communication network, and storing
                         a log associating each unique identifier of a guest device received using
                         BLE or NFC communications by a sensor of the sensor network in the
                         relational database.

         203.    DeCurtis does not directly or indirectly infringe claim 1 of the ’228 Patent by

  making, using, selling, and/or offering for sale the DXP System, either literally or under the

  doctrine of equivalents, at least because the DXP System does not “stor[e] a log associating each

  unique identifier of a portable guest device detected using BLE communications by a sensor of

  the sensor network with the known location of the sensor and a timestamp.” The DXP system

  does not store the identifier detected by a sensor of the sensor network in a log that associates the

  identifier with the location of the sensor. Instead, the DXP System translates the unique identifier


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  detected by a sensor of the sensor network into a different identifier, and uses a location engine

  to triangulate the position of a user.

          204.    DeCurtis does not directly or indirectly infringe claim 13 of the ’228 Patent by

  making, using, selling, and/or offering for sale the DXP System, either literally or under the

  doctrine of equivalents, at least because the DXP System does not “stor[e] a log associating each

  unique identifier of a guest device received using BLE or NFC communications by a sensor of

  the sensor network in the relational database.” The DXP System is not configured to receive

  BLE and NFC communications over a single sensor network communicatively coupled to a

  central server. The DXP System is not configured to receive communications from a sensor

  network comprising NFC sensors communicatively coupled to a central server and capable of

  storing a log with each of the NFC identifiers received from a NFC sensor.

          205.    A substantial, immediate, and real controversy exists between DeCurtis and

  Carnival regarding whether DeCurtis infringes the ’228 Patent by making, using, selling, and/or

  offering for sale DXP and related technologies and systems. A judicial declaration is necessary

  to determine the parties’ respective rights regarding the ’228 Patent.

          206.    DeCurtis seeks a judgment declaring that DeCurtis does not infringe, either

  literally or under the doctrine of equivalents, one or more claims of the ’228 Patent by making,

  using, selling, and/or offering for sale the DXP System, either directly under 35 U.S.C. § 271(a),

  or indirectly under 35 U.S.C. §§ 271(b) and (c).

                                             COUNT IX

                             Declaratory Judgment – Non-Infringement
                              One Or More Claims Of The ’271 Patent

          207.    DeCurtis restates and incorporates by reference the allegations in paragraphs 1

  through 101, and paragraph 129, as if fully set forth herein.


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         208.    On information and belief, Carnival claims to own all rights, title, and interest in

  the ’271 Patent.

         209.    The ’271 Patent has two independent claims, claims 1 and 10.

         210.    Claim 1 of the ’271 Patent recites:

                 An assembly comprising:

                        a wireless device having a device body with a tapered shape including a
                        front surface, a rear surface having a same shape as the front surface and a
                        greater dimension than the front surface, and a cavity in which a processor
                        and at least one wireless communication antenna are disposed; and

                        an accessory configured to be worn on a user body, the accessory having
                        an accessory body having opposing outer and inner surfaces configured to
                        respectively face away from and face toward the user body when the
                        accessory is worn on the user body,

                        wherein the accessory body has a tapered cavity extending between the
                        inner and outer surfaces and configured to releasably receive the wireless
                        device, and the tapered cavity includes a front opening, in the outer
                        surface of the accessory body, having a smaller dimension than a rear
                        opening, in the inner surface of the accessory body, and the front opening
                        having the same shape as and a smaller dimension than the front and rear
                        surfaces of the device body to prevent the wireless device from passing
                        through the front opening.

         211.    Claim 10 of the ’271 Patent recites:

                 A wireless device comprising:

                        a body having a tapered shape including a front surface, a rear surface
                        having a same shape as the front surface and a dimension greater than the
                        front surface, and a peripheral side surface connecting the front and rear
                        surfaces; and

                        four magnets embedded within the body and disposed on the peripheral
                        side surface along an outer periphery of the body,

                        wherein the body includes a cavity in which a processor and at least one
                        wireless communication antenna are disposed, and




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                        wherein at least two adjacent magnets among the four magnets disposed
                        on the peripheral side surface of the body each have a pole of a same
                        polarity facing the outer periphery of the body.

         212.   DeCurtis does not directly or indirectly infringe claims 1 and 10 of the ’271

  Patent by making, using, selling, and/or offering for sale the DXP System, either literally or

  under the doctrine of equivalents, at least because the DXP System does not employ, include, or

  otherwise make use of a wireless device comprising a “device body with a tapered shape

  including a front surface, [and] a rear surface having a same shape as the front surface and a

  greater dimension than the front surface” (claim 1); or a “body having a tapered shape including

  a front surface, a rear surface having a same shape as the front surface and a dimension greater

  than the front surface” (claim 10). The DXP System does not comprise wireless devices with

  front and rear surfaces having the same shape with the rear surface having a greater dimension.

      Carnival Patents:                   DXP System:                     DXP System:
       Portable Wireless             Virgin Portable Wireless          NCL Portable Wireless
     Device and Accessory             Device and Accessory             Device and Accessory




         213.   DeCurtis does not directly or indirectly infringe claim 10 of the ’271 Patent by

  making, using, selling, and/or offering for sale the DXP System, either literally or under the

  doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise


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  make use of a wireless device comprising “four magnets embedded within the body and disposed

  on the peripheral side surface along an outer periphery of the body.” The DXP System does not

  comprise wireless devices with magnets.

         214.    A substantial, immediate, and real controversy exists between DeCurtis and

  Carnival regarding whether DeCurtis infringes the ’271 Patent by making, using, selling, and/or

  offering for sale DXP and related technologies and systems. A judicial declaration is necessary

  to determine the parties’ respective rights regarding the ’271 Patent.

         215.    DeCurtis seeks a judgment declaring that DeCurtis does not infringe, either

  literally or under the doctrine of equivalents, one or more claims of the ’271 Patent by making,

  using, selling, and/or offering for sale the DXP System, either directly under 35 U.S.C. § 271(a),

  or indirectly under 35 U.S.C. §§ 271(b) and (c).

                                              COUNT X

                            Declaratory Judgment – Non-Infringement
                             One or More Claims Of The ’642 Patent

         216.    DeCurtis restates and incorporates by reference the allegations in paragraphs 1

  through 101, and paragraph 129, as if fully set forth herein.

         217.    On information and belief, Carnival claims to own all rights, title, and interest in

  the ’642 Patent.

         218.    The ’642 Patent has one independent claim, claim 1.

         219.    Claim 1 of the ’642 Patent recites:

                 An accessory configured to be worn by a user, the accessory comprising:

                         a metal body having opposing front and rear outer surfaces respectively
                         configured to face away from and towards the user when the accessory is
                         worn,




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                        wherein the metal body has a tapered cavity extending between a front
                        opening in the front outer surface of the metal body and a rear opening in
                        the rear outer surface of the metal body, the rear opening has a same shape
                        as the front opening, and the rear opening has a dimension that is greater
                        than that of the front opening, and

                        wherein the metal body has at least one gap extending therethrough from
                        the front outer surface to the rear outer surface, and from the tapered
                        cavity to an outer peripheral surface of the metal body extending between
                        the front and rear outer surfaces, and having a non-conducting material
                        therein.

         220.   DeCurtis does not directly or indirectly infringe claim 1 of the ’642 Patent by

  making, using, selling, and/or offering for sale the DXP System, either literally or under the

  doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise

  make use of an accessory configured to be worn by a user that comprises “a tapered cavity

  extending between a front opening in the front outer surface of the metal body and a rear opening

  in the rear outer surface of the metal body.” The DXP System does not comprise an accessory

  configured to be worn by a user with the claimed shapes and further, the accessories configured

  to be worn by the users do not include metal bodies.

         221.   DeCurtis does not directly or indirectly infringe claim 1 of the ’642 Patent by

  making, using, selling, and/or offering for sale the DXP System, either literally or under the

  doctrine of equivalents, at least because the DXP System does not employ, include, or otherwise

  make use of an accessory configured to be worn by a user that comprises a rear opening wherein

  “the rear opening has a same shape as the front opening” and wherein “the rear opening has a

  dimension that is greater than the front opening.” The DXP System does not comprise an

  accessory configured to be worn by a user with the claimed shapes.

         222.   A substantial, immediate, and real controversy exists between DeCurtis and

  Carnival regarding whether DeCurtis infringes the ’642 Patent by making, using, selling, and/or



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  offering for sale DXP and related technologies and systems. A judicial declaration is necessary

  to determine the parties’ respective rights regarding the ’642 Patent.

          223.    DeCurtis seeks a judgment declaring that DeCurtis does not infringe, either

  literally or under the doctrine of equivalents, one or more claims of the ’642 Patent by making,

  using, selling, and/or offering for sale the DXP System, either directly under 35 U.S.C. § 271(a),

  or indirectly under 35 U.S.C. §§ 271(b) and (c).

                                            Prayer For Relief

          Wherefore, DeCurtis LLC prays that the Court enter judgment in its favor as follows:

          (a)     declaring the Carnival Patents unenforceable;

          (b)     declaring that DeCurtis LLC’s conduct, including the DeCurtis Experience

  Platform, does not infringe, either directly or indirectly, any claim of the ‘184 Patent, the ‘514

  Patent, the ‘228 Patent, the ‘271 Patent, or the ‘642 Patent, either literally or under the doctrine

  of equivalents, by making, using, selling, and/or offering for sale the DXP System, and that it is

  therefore not liable for damages or injunctive relief as a result of these activities;

          (c)     declaring that the conduct of Carnival alleged above is adjudged and decreed to

  be in restraint of trade, unlawful monopolization, and attempted monopolization in violation of

  Section 2 of the Sherman Act;

          (d)     awarding DeCurtis LLC threefold the damages that have been or will be

  sustained;

          (e)     preliminarily and permanently enjoining Carnival from continuing its unlawful

  restraint of trade and monopolization and from tortiously interfering with the business and

  contracts of DeCurtis LLC;

          (f)     declaring that judgment be entered in favor of DeCurtis LLC and against Carnival



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  on each of DeCurtis LLC’s claims;

          (g)     finding that this is an exceptional case under 35 U.S.C. § 285;

          (h)     awarding DeCurtis LLC its cost of suit, including reasonable attorneys’ fees, as

  provided by law; and

          (i)     granting DeCurtis LLC such other, further, and different relief as the nature of the

  case may require or as the Court may deem just and proper.

                                    DEMAND FOR JURY TRIAL

          DeCurtis LLC, by its attorneys, hereby demand pursuant to Rule 38(b) of the Federal

  Rules of Civil Procedure, trial by jury of all issues triable by right.

  Dated: April 8, 2020                                 DECURTIS LLC



                                                       By: /s/ Jason P. Stearns
                                                              One of its attorneys


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